Case 2:22-cv-02718-JXN-AME Document 1-1 Filed 05/10/22 Page 1 of 15 PageID: 5




    EXHIBIT                                                    A
          Case 2:22-cv-02718-JXN-AME Document 1-1 Filed 05/10/22 Page 2 of 15 PageID: 6
                  HUD-L-003517-21 09/0812021 12:02:12 PM Pg 1 of 2 Trans ED: LCV20212073551




LAW OFFICES OF MARTIN F. KRONBERC .- ATTORNEY ID 262031970
2414 Morris Avenue, Suite 215, Union, NJ. 07083
(908) 624-£660
Attorney for Plaintiff

SYLVIA HUGGINS,                                             :SUPERIOR COURT OF NEW JERSEY
                                                            : LAW DIVISION: HUDSON COUNTY
                                       Plaintiff,           : DOCKET no. HUD-L-
vs.

HOME DEPOT and JOHN DOES 1-10,                                     CIVIL ACTION

                                       Defendants.          : COMPLAINT AND JURY DEMAND


          Plaintiff, Sylvia Huggins, residing in the City of Jersey City, County of Hudson, and State of New Jersey,

complaining of the Defendants, deposes and says:

                                                     FIRST COUNT

          1.     On or about April 14, 2021, Flaintiff was lawfully on the premises commonly known as Home Depot,

440 Route 440, in the City of Jersey City, County of Hudson, and State of New Jersey.

          2.     At all times relevant herein, Defendants, Home Depot and John Does 1-10, owned, occupied,

operated, maintained and/or controlled said premises in the City of lersey City, County of Hudson and State of New

Jersey.

          3.     Defendants, Home Depot and John Does 1-10, did so negligently and carelessly own, occupy,

operate, maintain and/or control the aforesaid premises so as to cause a dangerous condition to exist thereon.

          4.     As a direct and proximate result of the negligence and gross negligence of the Defendants, as

aforesaid, Plaintiff was caused to be injured due to the aforesaid dangerous condition and was thus caused to sustain

and did sustain serious and permanent personal injuries requiring the care and treatment of physicians,

hospitalization and medication and has been and will in the future continue to be hampered in her daily routine.

          5.     In addition, upon knowledge and belief, Defendants have failed to preserve photographic and video

evidence pertaining to the condition of the premises and the accident herein, all to Plaintiffs great detriment
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entitling Plaintiff to a spoliation charge to the jury as well as damages.

        WHEREFORE, Plaintiff, Sylvia Huggins, demands judgment against the Defendants, Home Depot and

John Does I-l0,joinily, severally or in the alternative, in the amount of her damages together with interest and costs

of suit, plus demands that the Court give a Spoliation of Evidence charge to the jury.

                                         DEMAND FOR TRIAL BY JURY

       Plaintiff hereby demands a Trial by jury as to all issues.

                                          NOTICE OF TRIAL COUNSEL

       Please take notice that Martin F. Kronberg, Esq. is hereby designated as Trial Counsel in the above-captioned

matter for the firm of Martin F. Kronberg, PC, pursuant to Rule 4:25 et. seq.


                                     CERTIFICATION PURSUANT TO RULE 4:5-1

        I hereby certify that the within matter is not the subject matter of any other action pending in any court or of

a pending arbitration proceeding, nor is suclu action contemplated. The names of all parties who should be presently

joined in this action are named in the caption of this Complaint.



DATED: September 8, 2021                               By :           Is/MARTIN F. KRONBERG
                                                                      MARTIN F. KRONBERC
Case 2:22-cv-02718-JXN-AME Document 1-1 Filed 05/10/22 Page 4 of 15 PageID: 8
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                               Civil Case information Statement
 Case Details: HUDSON. I Civil Part Docket# L-.0tJ3517-21

 Case Caption: HUGGINS SYLVIA VS HOME DEPOT                              Case Type: PERSONAL INJURY
 Case Initiation Date: 09/'OB/2021                                       Document! Typo: Complaint with Jury Demand
 Attorney Name: GREGORY FARRELL KRONBERG                                 Jury Demand: YES - 6 JURORS
 Firm Name: MARTIN F. KRONBERG PC                                        Is this a professional malpractice case? NO
 Address: 2414 MORRIS AVE STE 215                                        Related cases pending: NO
 UNION NJ 070830000                                                      If yes, list docket numbers:
 Phone: 9086241660                                                       Do you anticipate adding any parties (arising out of same
 Name of Party: PLAINTIFF : Huggins, Sylvia                              transaction or occurrence)? NO
 Name of Defendants Primary Insurance Company
 (if known): Unknown                                                     Are sexual abuse claims silaged by: Sylvia Huggins? NO



          THE INFORMATION PROVIDED ONTHIS FORM CANNOT BEiNTRODUCED INTQ EVIDENCE..
                              CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




  Do parties have a current, past, or recurrent relationship? NO
 If yes, is that reiationshipz
  Does the statute governing this case provide for payment of fees by the losing party? NO
  Use this space to alert the court to any special case characteristics that may warrant ind Evidua3
  management or accelerated disposition:


  Do you or your client need any disability accommodations? NO
         If yes, please identify the requested accommodation:


  Will an interpreter be needed? NO
           if yes, for what language:


  Please check off each applicable category: Putative Class Action? NO Title 59? NO Consumer Fraud? NO
      ....,,,.,                           ...
                        ,..

        ...                                ....
                                           .


  I certify that confidential personal identifiers have been redacted from documents now submitted to the
  court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

  09/08/2021                                                                             is/ GREGORY FARRELL KRONBERG
  Dated                                                                                                                     Signed
Case 2:22-cv-02718-JXN-AME Document 1-1 Filed 05/10/22 Page 5 of 15 PageID: 9




    EXHIBIT                                                    I
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                         Civil Case Information Statement
  Case Details: Hudson I civil Pale Docket# L:§*Q351Z~2?..

 Case Caption: HUGGINS SYLVIA VS HOME DEPOT                        Case Type: PERSONAL INJURY
 Case initiation Date: 09/D812021                                  Document Type: Answer WfCrossClaim W/Jury Demand
 Attorney Name: ALICIA LYNNE CALAF                                 Jury Uemand: YES - 6 JURORS
 Firm Name: MARSHALL DENNEHEY WARNER COLEMAN                       Is this a professlonai malpractice case? NO
 & GOGGIN                                                          Related cases pending: NO
 Address: 425 EAGLE ROCK AVE STE 302                               If yes, list docket numbers:
 ROSELAND NJ 07068                                                 Do you anticipate adding any parties (arising out of same
 Phone: 7329101969                                                 transaction or occurrence)? NO
 Name of Party: DEFENDANT : HOME DEPOT
 Name of Defendant's Primary Insurance Company                     Are sexual abuse claims alleged by: SYLVIA HUGGINS? NO

 (if known): Sedgwick



       TH E INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCEDINTO EVIDENCE
                        CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




  Do parties have a current, past, or recurrent relationship? NO
  If yes, is that relationship:
  Does the statute governing this case provide for payment of fees by the losing party? NO
  Use this space to alert the court to any special case characteristics that may warrant individual
  management or accelerated disposition:


  Do you or your client need any disability accommodations? NO
         if yes, please identify the requested accommodation:


  Will an interpreter be needed? NO
           If yes, for what language:

  Please check off each applicable category: Putative Class Action? NO Title 59? NO Consumer Fraud? NO
                                              ..
                                              ...                                   .....   ...   . ..                 *.: .....:.   $..

                                               ..


  I certify that confidential personal identifiers have been redacted from documents now submitted to the
  court, encl wilE be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

  03/21/2022                                                                                             is/ ALICEA LYNNE CALAF
  Dated                                                                                                                   Signed
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     MARSHALL DENNEHEY
i.   By: Alicia L. Calaf, Esq. I Attorney LD. No. 021092004
     425 Eagle Rock Avenue, Suite 302
     Roseland, NJ 07068
     'Fr973-618~4100        8973-618-0685
     8' alcalafl@mdwcg.com
     Atorneys for Defendant, Home Depot USA, Inc.
     SYLVIA HUGGINS,                                     SUPERICR COURT OF NEW JERSEY
                                                         LAW DIVISION: HUDSON COUNTY
                                    Plaintiff,           DOCKET NO.: HUD-L-3517»21

     v.                                                                            CIVIL ACTION

     HOME DEPOT, and JOHN DOES 1-10,                          CONSENT ORDER VACATING DEFAULT
                                                              AND EXTENDING TIME TO ANSWER
                                        Defendants.

              T H IS MAT T ER , having been b1'oug§1t before the Court by Alicia L. Calif, Esq., of Mawshail

     Dennehey, attorneys for the defendant, Home Depot USA, Inc., and Greg Kronberg, Esq. of Law Offices

     of Martin F. Kronberg, attorneys for the plaintiff, consc-:mi118 t11e1°eto,

             IT IS on this                  day of             1 2022;

              ORDERED that any entry of default as to these this defendant, Home Depot USA, Inc. be and is

     hereby vacated and this defendant, be and is hereby pernlitted We an Answer or otherwise plead O11 or

     before April 6, 2022, and it is further

              ORDERED that a copy of this Order shall be served upon all counsel via e-filing.




                                                                                             J.S.C.
     We hereby consent to the form
     and entry of Ehe above order.

     LAW OFFICES OF MARTIN F. KRONBERG, Attorneys i01 Plaintiff

     By: -                f   r `..*.T"~>                             Dated: 3/Io/:1l
           Greg Kronberg, Esq.

     MARSHALL DENNEHEY, Attorneys for Defendant, Home Depot USA, Inc.

     By!     lsl Alicia L. Caiaf                                      Dated:       3/21/22
     LEGAL/l44856153.vI
 Case 2:22-cv-02718-JXN-AME Document 1-1 Filed 05/10/22 Page 8 of 15 PageID: 12
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42488.00160

MARSHALL DENNEHEY
By: Alicia L. Calif, Esq. / Attorney I.D. No. 021092004
425 Eagle Rock Avenue, Suite 302
Roseland, NJ 07068
9973-638-4100           8973-618-0685
#3 alcalaf@mdwcg.com

BY: KEVIN E. HEXSTALL, Esq.
Attorney identification No.: 02791 I 997
2000 Market Street, Suite 2300
Philadelphia, PA 19103
215-575-2642
kehexstall@mdwcg.com

ATTORNEYS FOR DEFENDANT - Home Depot U.S.A., Inc. (improperly plead as "Home Depot")

 SYLVIA HUGGINS,                                      SUPERIOR COURT OF NEW JERSEY
                                                      LAW DiVISICN: HUDSON COUNTY
                               Plaintiff,             DOCKET NO. HUD-L-35V7-2l

                          v.                                            CIVIL ACTION

 HOME DEPOT, and JOHN DOES 1-10,                              ANSWER WITH CROSSCLAIMS

                               Defendants.


       Defendant, Home Depot U.S.A., Inc. (Improperly plead as "Home Depot") through its attorneys,

MarshalE Dennehey, in response to the Complaint filed by Plaintiff Sylvia Huggins ("Plaintiff"), deposes

and says the following:

                                              FIRST COUNT

       1.      Defendant Home Depot U.S.A., Inc. is without knowledge or information sufficient to form

a belief as to the truth of the allegations contained in paragraph l of the First Count of the Complaint.

       2.       Admitted that Defendant Home Depot U.S.A., Inc. occupied and operated the Home Depot

located at 440 Route 440 in Jersey City, New Jersey. The remaining allegations contained in paragraph 2

of the First Count of the Complaint are denied.
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       3.       Defendant Home Depot U.S.A., Inc. denies the allegations contained in paragraph 3 of the

First Count of the Complaint.

       4.       Defendant Home Depot U.S.A., Inc. denies the allegations contained in paragraph 4 of the

First Count of the Complaint.

       5.       Defendant Home Depot U.S.A., Inc. denies the allegations contained in paragraph 5 of the

First Count of the Complaint.

       WHEREFORE, Defendant Home Depot U.S.A., Inc. demands that the Court dismiss Plaintiffs

Complaint and award Defendant Home Depot U.S.A., Inc. costs of suit, and any other relief that the Court

deems just.

                                     4;_F1jIRMAT;VE DEFENSES
                                  FIRST AFFIRMATIVE DEFENSE

       The Complaint fails, in whole or in part, to set forth a cause of action upon which relief can be

granted.

                                 SECOND AFFIRMATIVE DEFENSE

       Defendant Home Depot U.S.A., Inc. owes no duty to Plaintiff.

                                  THIRD AFFIRMATIVE DEFENSE

       Defendant Home Depot U.S.A., Inc. breached no duty to Plaintiff.

                                FOURTH AFFIRMATIVE DEFENSE

       Plain tEflfl s injuries, if any, and which are denied, were not caused by any conduct of Defendant

Home Depot U.S.A., Inc.

                                  FIFTH AFFIRMATIVE DEFENSE

       Plaintiff has not suffered damages proximately caused by or attributable to Defendant Home Depot

U.S.A., Inc.'s conduct.




                                                    2
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                                   SIXTH AFFIRMATIVE DEFENSE
        The Complaint fails, in whole or in part, as the damages alleged by Plaintiff, if any, and which are

denied, were caused by the acts or omissions of others for whom Home Depot U.S.A., Inc. is not responsible

or liable.

                                  SEVNTH AFFIRMATIVE DEFENSE

        Benefits paid by a healthcare carrier, Medicare or Medicaid are to be deducted from any award

pursuant to N.J.S.A. 2A:15-97 in accordance with the collateral source rule.

                                  EIGHT.H AFFIRIVEATIVE DEFENSE

        The injuries and damages complained oby Plaintiff pre-existed, or were sustained after the incident

that is the subject matter of the Complaint.

                                   NINTH AFFIRMATIVE DEFENSE

        Plaintiffs claims are frivolous, in violation ofN..F.S.A, 2A:E5-59. I

                                   TENTH AFFIRMATIVE DEFENSE

        The comparative fault of other parties' bars or limits recovery against Defendant Home Depot

U.S.A., Inc, under New Jersey's Comparative Negligence Act and New Jersey's Joint Tortfeasor

Contribution Law.

                                 ELEVENTH AFFIRMATIVE DEFENSE
        Plaintiffs claims are barred by the collateral source rule.

                                  TWELFTH AFFIRMATIVE DEFENSE.

        The doctrine of Avoidable Consequences bars or limits PEaintiff's recovery.

                                 THIRTEENTH AFFIRMATIVE DEFENSE

        The damages alleged were due to a condition of which Defendant Home Depot U.S.A., Inc. had no

actual or constructive notice.




                                                       3
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                              FOURTEENTH AFFIRMATIVE DEFENSE

       Plaintiff has failed to mitigate his damages.

                               FIFTEENTH AFFIRMATIVE DEFENSE

       Plaintiff has failed to name all necessary and indispensable parties. Specifically, Plaintiff has not

named the City of jersey City, and this is an indispensable party to the Eitigation.

                               SIXTEENTH AFFIRMATIVE DEFENSE

       The injuries and damages complained ofwete the proximate result of the negligence of third parties

over whom Defendant Home Depot U.S.A., Inc. had no control.

                             SEVENTEENTH AFFIRMATIVE DEFENSE

       The damages alleged were the result of unfoteseeabie, intervening or superseding acts of others

independent of Defendant Home Depot U.S.A., Inc., which bar Plaintiff°f"s causes of action.

                              EIGHTEENTH AFFIRMATIVE DEFENSE

       The injuries and damages complained of were the proximate result of the sole and contributory

negligence of Plaintiff.

                              NINETEENTH AFFIRMATIVE DEFENSE

        The Court has not obtained personal jurisdiction over Defendant Home Depot U.S.A., Inc., as

service of the Complaint was improper and defective pursuant to R. 4:4-4.

                               TW ENTIETH MFIRMATIVE DEFENSE.

       Defendant specifically denies any and ail liability as to punitive damages. Defendant hereby adopts

any and all rights and defenses under the New Jersey Punitive Damages Act, N.J.S.A. ZA: 15-5.9-5.17.

                             TWENTY-FIRST AFFIRMATIVE DEFENSE

        The Complaint and causes of action alleged therein are time-barred pursuant to the applicable

Statute of Limitations.




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                           TW3_N_TY-S1§;Q_QNP AFFIRMATIVE DEFENSE.

       The damages alleged were the result of an ongoing storm event which Defendant Home Depot

U.S.A., Inc. had no control over.

                            TWENTY~THIRD AFFIRMATIVE DEFENSE

       Defendant Home Depot U.S.A., Inc. reserves the right to raise additional affirmative defenses.

                                CROSSCLAIM FOR CONTRIBUTION

       Defendant Home Depot U.S.A., Inc. demands contribution from all co-defendants named in the

Complaint under the Joint Tortfeasors Contribution Act, as more fully set forth at N.}.S.A. 2A:53-l , Q seq

                              CROSSCLAIM FOR INDEMNIFICATION

       While denying any liability Io plaintiff, Defendant Home Depot U.S.A., Inc. states that if same are

found to be so liable, its liability is secondary and imputed and derivative from that of co-defendants, and

Defendant Home Depot U.S.A., Inc. hereby demands complete indemnification from co-defendants

including costs and counsel fees.

                    CROSSCLAIM FOR CONTRACTUAL INDEMNIFICATION

       Without admitting any liability herein, Defendant Home Depot U.S.A., Inc. asserts that there arises

out of its relationship with co-defendant a contractual obligation entitling it to indemnification from co

defendant should liability be found against it.

       W HEREFORE, Defendant Home Depot U.S.A., Inc. demands judgment against co-defendant for

indemnification of any sum for which it might be found liable.

                                     ANSWER TO CROSSCLAIMS

       Defendant Home Depot U.S.A., Inc. denies the allegations of any and at] crossclairns filed or which

may be filed against it.




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                                    DEMAND FOR DOCUMENTS
       Demand is hereby mace upon Plaintiff to furnish within five (5) days of the receipt of this Answer,

all documents referenced in the Complaint pursuant to R. 4:l8-2, which have not been previously produced

in this litigation by Plaintiff to Defendant Home Depot U.S.A., Inc.

                        DEMAND FOR ANSWERS TO INTERROGATORIES

       Pursuant to R. 4: 17-1(b)(1), demand is hereby made upon P¥aintiffto provide supplemental answers

to Form "A" Uniform Set of Interrogatories of Appendix II, within the time prescribed by the Rules

Governing the Courts of New Jersey. Defendant Home Depot U.S.A., Inc. reserve the right to propound

additional supplemental interrogatories under the Rules.

                 DEMAND FOR DISCOVERY OF INSURANCE INFORMATION

       Pursuant to R. 4:18-l, Defendant Home Depot U.S.A., Inc. hereby demands that Plaintiff furnish

ail information relative to any insurance coverage Plaintiff may have relating to the claims which are the

subject of the within action.

                      DEMAND FOR WRITTEN STATEMENT OF DAMAGES

       Demand is hereby made upon Plaintiff to furnish within five (5) days of the receipt of this Answer

to Complaint, a written Statement of Damages claimed pursuant to R. 4:5-2.

                                   REQUEST FOR ALLOCATION

       Pursuant to R. 4:5-2(c) and Young v. Lotto, 123 N.J. 584 (1991), Defendant Home Depot U.S.A.,

Inc. hereby advises that if any other defendant settles the within matter prior to conclusion of trial, the

liability of any settling co~defendants shall remain an issue and this Defendant shall seek an allocation of

percentage of negligence by the finder of fact against such a settling co-defendant and/or a credit in favor

of this Defendant consistent with such allocation. This Defendant shall rely upon all evidence, including

the direct examination and cross-examination of Plaintiff and Piaintiffs expert witnesses and any and all




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other witnesses at the time oftriai, in support of this allocation and specifically reserves the right to call any

and all such witnesses.

                                 DESIGNATION OF TRIAL COUNSEL

        Pursuant to R. 4:25-4, Kevin E. Headstall, Esq. is hereby designated as Trial Counsel in the above

captioned matter.

                                                                       MARSHALL DENNEHEY

Dated: March Zi, 2022                                                   fs/ Alicia L. Calaf
                                                                        Alicia L. Calaf


                      CERTIFICATION OF COMPLIANCE WITH R. 1:38-7(C)

        I certify that confidential personal identifiers are not contained in any documents now submitted to

the court, and will be redacted from all documents submitted in the future in accordance with R. 1:38-7(b).




Dated: March 21, 2022                                                   Isl Alicia L. Calaf
                                                                        Alicia L. Calaf

                                R. 4°5-1 ANI) R. 4:6-1 CERTIFICATIONS

        I hereby certify, pursuant to R. 4:54, based upon information which is presently known to me, that

this matter in controversy is not the subject of any other court or arbitration proceedings. I further certify

that, as of this date, I am not aware of any other parties that should be joined in this action, and investigation

is ongoing as to whether other potentially liable parties should be joined in this action, and this pleading

may be amended as a result of that investigation. I also certify, pursuant to R, 4:6-l(a), that the within

pleading was served within the time period allowed by the Rules Governing the Courts of New Jersey.




Dated: March 21, 2022                                                   is/ AIEQ..ia.L. Calaf
                                                                        Alicia L. Calaf




                                                        7
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                                                                                                   ?    41

    MAIISHALL DENNEHEY                                                                             .s


    By' Alicia L. Calif, Esq. / Attorney LD. No. 021092004
    425 Eagle Rock Avenue, Suite 302                                               MAR Z 4 ZU22
    Roseland, NJ 07068
    *&973~618-4100          8973-618-0685                                     CHRISTIl8E rw.vAnlE:(,J.s.c,
    8 alcalaE@mdwcg.com
    Attorneys for Defendant, Home Depot USA, Inc.
    SYLVIA HUGGINS,                                       .' SUPERIOR COURT OF NEW JERSEY
                                                          . LAW D1V}SION. HUDSON COUNTY
                                     Piaintifil             DOCKET NO.: HUD-L~3517-21
                                                          E
    v.                                                                        CIVIL ACTION
                                                          i
    HOME DEPOT, and JOHN DOES 1-10,                       ; CONSENT ORDER VACATING BEFAULT
                                                            AND EXTENDING TIME TO ANSWER
                                     Defendants.          I

               THIS MATTER, having been brought before the Could by Alicia L. Calaf, Esq., of Mavshali

    Dennehey, attorneys for the defendant, Home Depot USA, Inc., and Greg Kronberg, Esq. of Law Offices
I
    of Martin F. Kronberg, attorneys for the plaintiff, consenting thereto,
                                    WE     .
               IT IS on this QUO      day of }"Y\9' E""' I 2022;

               ORDERED that any entry of default as to these this defendant, Home Depot USA, Iuc- be and is

    hereby vacated and this defendant, be and is hereby pernlitted file an Answer or otherwise plead on OI

    before April 6, 2022; and it is further
I

               ORDERED that a copy of Ellis Order shall be served upon all counsel via e-filing.
    JZMOMQ (mw7 ,é
£Q.4€,>Le 84444 44                                            @8,¢442a¢6))/W \
         .     4 /28                                       (Ll/1v\€.#.;f»Lt'l'1»l/6£m46v J.s.c.
    We here y consent to he form
    and entry of the above order.

    LAW OFFICES OF MARTIN F. KRONBERG, Attorneys for Plaintiff

    By: / 4 1 1 7 3 - ` - - ' 1                                   Daiedi 3/10/51i1
             Greg Kronberg, Esq .

    MARSHALL DENNEHEY, Attorneys for Defendant, Home Depot USA, Inc.

    By'      is/ Alicia L. Calaf                                  Dated:      3/21/22
    LIEGAU144856 I53.v1
